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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                 CLERKS MINUTES


CASE NO. 5:21-cr-9                                      DATE: 6/2/2023

TITLE: United States of America v. Maria Leticia Patricio, et al.

HONORABLE BENJAMIN W. CHEESBRO                   COURTROOM DEPUTY: KIM MIXON

COURT REPORTER: N/A                TIME: 10:00 a.m.-10:28 a.m. TOTAL: 28 minutes


PLAINTIFF:                                              COUNSEL FOR PLAINTIFF:

United States of America                                Tania Groover

DEFENDANTS:                                             COUNSEL FOR DEFENDANTS:

Maria Leticia Patricio                                  Juanita Holsey
Antonio Chavez Ramos                                    Jessica Stern
Margarita Rojas Cardenas                                Brian Fenton McEvoy
Charles Michael King                                    Jack Downie
Daniel Mendoza                                          Kimberly Copeland
Delia Ibarra Rojas                                      Katie Brewington
Enrique Duque Tovar                                     DeLeigh Poole
Esthar Ibarra Garcia                                    Whitney Johnson
Gumara Canela                                           Graham Floyd
JC Longoria Castro                                      Brian Tanner
Juan Francisco Campos                                   Paul Kish
Juana Ibarra Carrillo                                   William Joseph Turner
Linda Jean Facundo                                      Kathy Griffin
Nere Rene Carrillo Najarro
Rosalva Garcia Martinez                                 Tina Maddox
Donna Michelle Rojas                                    E. Jay Abt
Carla Yvonne Salinas                                    Dennis O’Brien
Brett Donavan Bussey                                    Tom Withers


TELEPHONIC STATUS CONFERENCE
Telephonic Status Conference regarding discovery and scheduling.
Court reviews current schedule in the case.
Government provides update on production of discovery materials. Government has
provided discovery to Defendants’ Discovery Coordinating Attorney, Russell M. Aoki. Mr.
Aoki is in the process of loading all materials produced by the Government into a
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searchable database, which then be made available to all defense counsel. Mr. Aoki
estimates the process to be complete by mid to late June.
Mrs. Groover states the database used by the discovery defense coordinator, CaseLink,
may have been hacked. The extent of the attack is unknown at this time, and is unclear if
the hack exposed data related to this specific case or was a general attack.
Court addresses each participating defense attorney.
Defense counsel Juanita Holsey requests additional time to file pretrial motions based on
Government’s time frame of the production of the load file. All defense attorneys (except
Tom Withers on behalf of Defendant Bussey) join in the request for additional time for
filing pretrial motions. Some defense attorneys seek a pretrial motions deadline in
October. Court will take matter under advisement.
As to Defendant Brett Donavan Bussey’s Motion for Identification of the Specific
Documents Which the Government Expects to Introduce in Its Case-In-Chief at Trial, doc.
549, the Court intends to conduct an in-person hearing on the motion. Mrs. Groover is
coordinating with defense attorneys and will provide available dates for the hearing. A
representative from the Government’s electronic discovery team will participate in the
hearing, as will the appointed defense coordinating attorney.
Defendants themselves are not required to participate but are permitted.
Court instructs parties to continue to confer on availability for hearing. Parties are to file
their Joint Status Report by close of business on June 8, 2023. The Joint Status Report
shall include available dates for hearing, whether there are any named Defendants who
plan to attend the hearing, whether an interpreter is necessary to be present for any
attending Defendant, and whether any party is seeking to attend the hearing by video.
